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     1

 2                                                                           Apr 21 2021
                                                                              3:52 pm
 3

 4                                                                           s/ emilybl

 5                                 UNITED STATES DISTRICT COURT
 6                                SOUTHERN DISTRICT OF CALIFORNIA
 7
          UNITED STATES OF AMERICA,                        Case No.   '21 CR1233 GPC
 8
                              Plaintiff,
 9                                                         NOTICE OF RELATED CASE
               v.
10        ISMAEL ORTEGA,
          aka Ismael Ortega-Nava,
11
                              Defendant.
12

13            TO THE CLERK OF THE COURT:
                                           ,-(
14            Please    take    notice   that      the   above   entitled case      is    related to

15       United States of America v.             Ismael Ortega-Nava, Case No.         20CR2372-GPC,

16       pursuant to Local Rule 5 7. 2. 1, Related Cases.           The United States Attorney

17       certifies the cases are related for the following reason(s):
18
                X
              - - - - (1)    All of the defendants named in each of the cases are
19                           the same and none of the cases include defendants not
                             named in any of the other cases.
20
                       (2)   Prosecution against different defendants arises from:
21
                                   (a) A common wiretap
22

23                                 (b) A common search warrant

24                                 (c) Activities that are part of the same alleged
                                       criminal event or transaction; that is, the
25                                     cases involved substantially the same facts
                                       and the same questions of law.
26
              DATED: April 21, 2021.                       ~c          ::::~fvn..
27
                                                             RANDS. GOOSSMAN;;
28                                                           Acting United States Attorney
